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                                   Exhibit B

                       Covered Entities Under PROMESA
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